        Case 1:25-cv-00799-RCL           Document 30       Filed 04/10/25      Page 1 of 4




                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


 RFE/RL, INC.,

                         Plaintiff,
                                                      Case No. 1:25-cv-799-RCL
 v.

 KARI LAKE, in her official capacity as Senior
 Advisor to the Acting CEO of the United
 States Agency for Global Media;

 VICTOR MORALES, in his official capacity as
 acting Chief Executive Officer of the United
 States Agency for Global Media; and

 UNITED STATES AGENCY FOR GLOBAL
 MEDIA,

                         Defendants.


                                      JOINT STATUS REPORT

        Pursuant to the Court’s April 8, 2025 Order, the parties submit this joint status report. The

parties have conferred on a briefing schedule concerning Plaintiff’s Motion for a Further

Temporary Restraining Order (ECF 28) and Defendants’ Motion to Dissolve the Temporary

Restraining Order (ECF 29). The parties jointly propose the following briefing schedule:

            •    The parties will submit their respective responses to the motions by noon Eastern

                 Time on Friday, April 11, 2025.

            •    The parties will submit their replies in support of their respective motions on

                 Saturday, April 12, 2025.

        If this schedule is acceptable to the Court, the parties intend to submit their briefs along

this timeline.
       Case 1:25-cv-00799-RCL   Document 30     Filed 04/10/25      Page 2 of 4




April 10, 2025                      Respectfully submitted,

                                    /s/ Marney L. Cheek
                                    Marney L. Cheek (D.C. Bar No. 470596)
                                    David M. Zionts (D.C. Bar No. 995170)
                                    Thomas Brugato (D.C. Bar No. 1013523)
                                    COVINGTON & BURLING LLP
                                    850 Tenth Street NW
                                    Washington, DC 20001-4956
                                    (202) 662-6000
                                    mcheek@cov.com
                                    dzionts@cov.com
                                    tbrugato@cov.com

                                    Attorneys for Plaintiff RFE/RL, Inc.



                                    YAAKOV M. ROTH
                                    Acting Assistant Attorney General

                                    ERIC J. HAMILTON
                                    Deputy Assistant Attorney General
                                    Civil Division, Federal Programs Branch

                                    JOSEPH E. BORSON
                                    Assistant Branch Director
                                    Federal Programs Branch


                                    /s/ Abigail Stout
                                    ABIGAIL STOUT
                                    (DC Bar No. 90009415)
                                    Counsel
                                    U.S. Department of Justice
                                    Civil Division
                                    950 Pennsylvania Avenue, NW
                                    Washington, DC 20530
                                    Telephone: (202) 514-2000
                                    Email: Abigail.Stout@usdoj.gov

                                    /s/_Julia A. Heiman____________
                                    JULIA A. HEIMAN (D.C. Bar No. 986228)
                                    Federal Programs Branch
                                    U.S. Department of Justice, Civil Division
                                    1100 L Street, N.W.
Case 1:25-cv-00799-RCL   Document 30     Filed 04/10/25    Page 3 of 4




                             Washington, DC 20005
                             Tel. (202) 616-8480 / Fax (202) 616-8470
                             julia.heiman@usdoj.gov

                             Attorneys for Defendants
       Case 1:25-cv-00799-RCL           Document 30        Filed 04/10/25      Page 4 of 4




                                CERTIFICATE OF SERVICE

       Pursuant to Local Rule 65.1(a), I hereby certify that on April 10, 2025, I filed the foregoing

document with the Clerk of Court for the United States District Court for the District of Columbia

using the court’s CM/ECF filing system, which will send notification of such filing via e-mail to

all counsel of record.



                                             Respectfully submitted,

                                                     /s/ Marney L. Cheek
                                                     Marney L. Cheek (D.C. Bar No. 470596)
                                                     COVINGTON & BURLING LLP
                                                     850 Tenth Street NW
                                                     Washington, DC 20001-4956
                                                     (202) 662-6000
                                                     mcheek@cov.com

                                                     Attorney for Plaintiff RFE/RL, Inc.
